

Matter of Jacyah V. (Joseph V.) (2020 NY Slip Op 06877)





Matter of Jacyah V. (Joseph V.)


2020 NY Slip Op 06877


Decided on November 19, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 19, 2020

Before: Webber, J.P., González, Scarpulla, Shulman, JJ. 


Docket No. NN-18413/17 Appeal No. 12446 Case No. 2018-04668 

[*1]In the Matter of Jacyah V., a Child Under Eighteen Years of Age, etc., Joseph V., Respondent-Appellant, Administration for Children's Services, Petitioner-Respondent.


The Law Offices of Salihah R. Denman, PLLC, New York (Salihah R. Denman of counsel), for appellant.
James E. Johnson, Corporation Counsel, New York&nbsp;(Rebecca L. Visgaitis of counsel), for respondent.
Dawne A. Mitchell, The Legal Aid Society, New York (Polixene Petrakopoulos of counsel), attorney for the child.



Order of fact-finding and disposition (one paper), Family Court, New York County (Emily M. Olshansky, J.), entered on or about October 15, 2018, which, to the extent appealed from as limited by the briefs, determined after a hearing that respondent neglected the subject child, unanimously affirmed, without costs.
Petitioner proved by a preponderance of the evidence that respondent behaved in a [*2]sexually inappropriate manner in the presence of the then one-year-old child, thereby neglecting the child (Family Court Act § 1012[f][i][A], [B]; see Matter of Raelene B. [Alex D.], 179 AD3d 1315, 1317 [3d Dept 2020]; Matter of Ja'Dore G. [Cannily G.], 169 AD3d 544, 545 [1st Dept 2019]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 19, 2020








